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                             LTNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

                                                         ck   21"101 wfvlwiH6
 UNITED STATES OF AMERICA.                               INDICTMENT

                         Plaintiff,                      l8 u.s.c. s242

        V.


 DEREK MICHAEL CHAUVIN,

                         Defendant.

       THE UNITED STATES GRAND JURY CHARGES THAT:

                                 GENERAL ALLEGATIONS

At all times relevant to this Indictment:

       1.     Defendant Derek Chauvin was emplbyed                 as   a   Minneapolis Police

Department (MPD) officer, and had held that position for more than 16 years.

       2.     Juvenile   1   was al{-year-old student and resident of Minneapolis, Minnesota.

       3.     Paragraphs      I and 2 of this Indictment   are realleged and incorporated into

Counts 1 and 2 as though fully set forth therein.

                                            COUNT    1
                         (Deprivation of Rights Under Color of Law)

       On or about September 4, 20t7, in the State and District of Minnesota, the

defendant,

                                DEREK MICHAEL CHAUVIN,

while acting under color of law, willfully deprived Juvenile       I of the right, secured and
protected by the Constitution and laws ofthe United States, to be free from an unreasonable

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seizure, which includes the right to be free from the use of unreasonable force by a police

officer. Specifically, Defendant Chauvin, without legal justification, held Juvenile I by

the throat and struck Juvenile 1 multiple times in the head with a flashlight. This offense

included the use of a dangerous weapon-a flashlight-and resulted in bodily injury to

Juvenile   1.


        All in violation of Title        18, United States Code, Section242.



                                            COUNT 2
                            (Deprivation of Rights Under Color of Law)

        On or about September 4, 2017, in the State and District of Minnesota, the

defendant,

                                 DEREK MICHAEL CHAUVIN,

while acting under color of law, willfully deprived Juvenile 1 of the right, secured and

protected by the Constitution and laws of the United States, to be free from an unreasonable

seizure, which includes the right to be free from the use of unreasonable force by a police

officer. Specifically, Defendant Chauvin held his knee on the neck and the upper back of

Juvenile   1 even   after Juvenile I was lying prone, handcuffed, and unresisting. This offense

resulted in bodily injury to Juvenile         1.
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        All in violation of Title        18. United States Code. Section242.




                                               A TRUE BILL




W. ANDERS FOLK                                           FOREPERSON
ACTING LINITED STATES ATTORNEY

PAMELA S. KARLAN
PRINCIPAL DEPUTY ASSISTANT
ATTORNEY GENERAL
CIVIL RIGHTS DIVISION
U.S. DEPARTMENT OF JUSTICE

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